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 1                               UNITED STATES DISTRICT COURT
 2                           NORTHERN DISTRICT OF CALIFORNIA
 3
 4   IN RE CAPACITORS ANTITRUST                     )   MDL No. 2801
     LITIGATION                                     )
 5                                                  )   Master File No.: 3:17-md-02801-JD
 6                                                  )
                                                    )   DECLARATION OF JUSTIN A.
 7   This Document Relates to:                      )   COHEN IN SUPPORT OF CERTAIN
                                                    )   DEFENDANTS’ NOTICE OF
 8                   Case Nos.: 3:14-cv-03264-JD,   )   MOTION AND MOTION TO
                                3:17-cv-03472-JD,   )   EXCLUDE TESTIMONY OF DR.
 9                              3:17-cv-07046-JD,   )   LESLIE M. MARX
10                              3:17-cv-07047-JD,   )
                                3:18-cv-02657-JD.   )
11                                                  )
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 1   I, Justin A. Cohen, declare as follows:

 2           1.      I am an attorney at Wilson Sonsini Goodrich & Rosati, P.C. and am counsel for

 3   Defendants Hitachi Chemical Co., Ltd., Hitachi Chemical Co. America, Ltd. and Hitachi AIC Inc.

 4   (“Hitachi Chemical”) in the above-captioned litigation.

 5           2.      I am a member in good standing of the Bar of the State of New York and have been

 6   admitted pro hac vice in the above-captioned litigation. I am over 21 years of age and am not a

 7   party to this action.

 8           3.      This Declaration is based on personal knowledge, and if called to testify, I could and

 9   would do so competently as to the matters set forth herein. I submit this Declaration in support of

10   Certain Defendants’ Motion to Exclude Testimony of Dr. Leslie M. Marx.

11           4.      Attached as Exhibit A is the Expert Report of Dr. Leslie M. Marx, dated November

12   30, 2018. This document is marked “Confidential – Attorneys’ Eyes Only” under the Stipulated

13   Protective Order, so it is filed under seal in its entirety.

14           5.      Attached as Exhibit B are excerpts from the Deposition Transcript of Dr. Leslie M.

15   Marx, dated May 15, 2019. This transcript has been designated as “Confidential – Attorneys’ Eyes

16   Only” under the Stipulated Protective Order, so it is filed under seal in its entirety.

17           6.      Attached as Exhibit C is an excerpt from the Deposition Transcript of Dr. Frederick

18   R. Warren-Boulton, dated June 4, 2019.

19           7.      Attached as Exhibit D is the Expert Reply Report of Dr. Leslie M. Marx, dated

20   April 19, 2019. This document is marked “Confidential – Attorneys’ Eyes Only” under the

21   Stipulated Protective Order, so it is filed under seal in its entirety.

22           8.      Attached as Exhibit E is an excerpt from the Deposition Transcript of Dr. Laila

23   Haider, dated May 9, 2019. This transcript has been designated as “Confidential – Attorneys’ Eyes

24   Only” under the Stipulated Protective Order, so it is filed under seal in its entirety.

25           9.      Attached as Exhibit F is a document produced by the Rubycon Defendants and

26   labeled RUB_000005690. This document is marked “Confidential” under the Stipulated Protective

27   Order, so it is filed under seal in its entirety.

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 1           10.     Attached as Exhibit G is a document produced by the Rubycon Defendants and

 2   labeled RUB_003456659. This document is marked “Confidential” under the Stipulated Protective

 3   Order, so it is filed under seal in its entirety.

 4
 5           I declare under the penalty of perjury, under the laws of the United States of America that

 6   the foregoing is true and correct to the best of my knowledge. Executed this 14th day of June

 7   2019 in New York, New York.

 8
                                                             s/ Justin A. Cohen
 9                                                           Justin A. Cohen
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